              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                      1:24-cv-00284-MR-WCM

AMERICAN WHITEWATER and                         )
AMERICAN RIVERS,                                )
                                                )
            Plaintiffs,                         )
v.                                              )            ORDER
                                                )
THE UNITED STATES ARMY CORPS                    )
OF ENGINEERS; UNITED STATES                     )
FOREST SERVICE; and UNITED                      )
STATES FISH AND WILDLIFE                        )
SERVICES,                                       )
                                                )
            Defendants,                         )
                                                )
and                                             )
                                                )
CSX TRANSPORTATION, INC.,                       )
                                                )
           Defendant-Intervenor.                )
_______________________________                 )

       This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 23) filed by W. Dixon Snukals. The Motion indicates

that Mr. Snukals, a member in good standing of the Bar of this Court, is local

counsel for Intervenor-Defendant CSX Transportation, Inc. and that he seeks

the admission of Davis M. Walsh, who the Motion represents as being a

member in good standing of the Bar of Virginia. It further appears that the

requisite admission fee has been paid, and that there is no opposition to the

Motion.

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      Accordingly, the Court GRANTS the Motion (Doc. 23) and ADMITS

Davis M. Walsh to practice pro hac vice before the Court in this matter while

associated with local counsel.
                                 Signed: November 26, 2024




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